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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA             )
                                     )
     v.                              )      No. 1:23-cr-10159
                                     )
JACK DOUGLAS TEIXEIRA                )


            APPEAL OF MAGISTRATE JUDGE’S ORDER ON DETENTION

       Jack Teixeira requests that this Court vacate the Memorandum and Order on Detention

issued by the Magistrate Judge in this case and order his release. See 18 U.S.C. § 3145(b). The

evidence supporting this motion is attached hereto as Exhibits 1 – 13. A brief in support of this

appeal shall be filed separately.

                                            Respectfully submitted,
                                            Jack Teixeira
                                            by his attorneys

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                                      Certificate of Service

       I, Allen Franco, hereby certify that this document was this day filed through the ECF
system and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (“NEF”).


Date: July 17, 2023                                            /s/ Allen Franco
                                                               Allen Franco




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